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United States District Court
‘Southern District Of Texas

 

 

 

 

AO 91 (Rev. 11/11) Criminal Complaint FILED
NOV 25 2019
UNITED STATES DISTRICT COURT
for the . David J. Bradley, Clerk
Southern District of Texas —_
United States of America )
© } Caen m-L4 = 3397-M
1. Porfirio Luciano-Garcia (1976/MX) ) ase NO.
2. Maribel Gasser-Castillo (1990/MX)
)
)
Defendant(s)
CRIMINAL COMPLAINT
I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of November 24, 2019 in the county of Hidalgo in the
. Southern District of Texas , the defendant(s) violated:
Code Section Offense Description
21 USC § 952 Illegal Importation of a Controlled Substance / Approximately 11.32

Kilograms of Cocaine, a Schedule II Controlled Substance.

21 USC § 963 Conspiracy to Illegally Import a Controlled Substance / Approximately 11.32
Kilograms of Cocaine, a Schedule II Controlled Substance.

This criminal complaint is based on these facts:

See Attachment "A"

Continued on the attached sheet.

Np AuSA be Mee fk Lat

‘omplainant’s signature

[0571 Nicholas C. Stott, HSI Special Agent

 

 

Printed name and title

Sworn to before me and signed in my presence.

y* ’s signature. :
City and state: McAllen, Texas. Ss. Magist ate Judge J. Scott Hacker
jf riame and title

 

 
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Attachment “A”

I, Nicholas C. Stott, am a Special Agent of the United States Homeland Security Investigations
(HSI) and have knowledge of the following facts. The facts related in this attachment do not reflect
the totality of information known to me or other agents/officers, merely the amount needed to
establish probable cause. I do not rely upon facts not set forth herein in reaching my conclusion
that a complaint should be issued, nor do I request that this Court rely upon any facts not set forth
herein in reviewing this attachment in support of the complaint.

1.

On November 24, 2019, Homeland Security Investigations in McAllen, Texas, (HSI McAllen)
received a request for investigative assistance from the U.S. Customs and Border Protection
(CBP) Office of Field Operations (OFO) at the Anzalduas Port of Entry (POE) in Mission,
Texas. CBP Officers (CBPOs) detained Porfirio LUCIANO-Garcia (hereinafter LUCIANO),
a citizen of Mexico, B1/B2 visa holder, and driver of the vehicle, and Maribel GASSER-
Castillo (hereinafter GASSER), a citizen of Mexico, B1/B2 visa holder, and passenger in the

-vehicle, while attempting to enter the U.S. with approximately 11.32 kilograms (kg) of cocaine

concealed within an aftermarket constructed concealed compartment in the front bumper area
and under the rear seat of the passenger car they were occupying. LUCIANO and GASSER
were accompanied by a minor child.

During primary inbound inspection, CBP Officers (CBPOs) obtained a negative oral
declaration for fruits, food, alcohol, tobacco, drugs, weapons and currency over $10,000.00.
from LUCIANO and GASSER. CBPOs referred LUCIANO, GASSER, the minor child and
the vehicle to secondary inspection for an intensive examination.

During secondary inspection, a CBP K-9 narcotics detection team conducted a free air
inspection which resulted in a positive alert for the odor of controlled substance(s) emanating
from the vehicle. The vehicle was X-rayed, revealing anomalies in the front bumper and rear
seat area of the vehicle.

A physical search of the vehicle was conducted, and 10 tape wrapped, grease lined and vacuum
sealed packages, weighing approximately 11.32 kilograms, were discovered concealed within
aftermarket constructed concealed compartments in the front bumper and under the rear seat
of the vehicle, where the minor child was seated. CBPOs field tested the substance inside the
packages which was presumptive positive for the properties and characteristics of cocaine.

Homeland Security Investigations (HSI), Special Agents (SA) responded to the Anzalduas
POE to assist in the investigation. HSI SAs interviewed LUCIANO who, after providing
several inconsistent and false statements, stated he was hired by an unknown person in Mexico
and to be paid $800.00 USD to transport what he was told to be United States currency from
the United States into Mexico. However, LUCIANO stated he suspected he was in reality
transporting drugs into the United States. LUCIANO also stated his wife, GASSER, was aware
of the smuggling event. SAs interviewed GASSER, who, after providing several inconsistent
and false statements, stated she was told they were transporting United States currency from
the United States into Mexico, but also suspected they were in actuality transporting drugs into
the United States. GASSER stated they were being paid to complete the smuggling events and
she accompanied LUCIANO to make the smuggling attempt seem less suspicious. Both
LUCIANO and GASSER admitted to making several previous trips into the United States for
the purpose of smuggling. .
